                          No. 21-6992


                             In the

   United States Court of Appeals
                For the Fourth Circuit
                      __________________

                   UNITED STATES OF AMERICA,
                                                   Appellee,

                               v.

                NATHANIEL POWELL, a/k/a Nate,
                                                   Appellant.
                      __________________

         On Appeal from the United States District Court
              for the Eastern District of Virginia
                       Case No. 2:16-cr-97
                      __________________

REDACTED OPENING BRIEF OF APPELLANT NATHANIEL POWELL
                  __________________
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                             INTRODUCTION

      This is a case about the constitutional right to counsel at sentencing.

Nathaniel Powell committed a crime; he sold drugs. He does not dispute

that. He does not dispute that he owes a debt to society and that a period of

incarceration is proper. But, due to the constitutionally ineffective assistance

of his sentencing counsel, Mr. Powell is serving a longer sentence than he

should. Mr. Powell’s sentence should be vacated and he should be re-

sentenced with the assistance of effective counsel.

      At Mr. Powell’s sentencing before the Eastern District of Virginia, his

sentencing counsel, Lawrence H. Woodward, failed to adequately

investigate and present evidence in support of Mr. Powell’s objection to a 2-

point Guidelines sentencing enhancement for maintaining a premises for the

purpose of distributing narcotics. As a result, the District Court denied Mr.

Powell’s objection to the Presentence Report (“PSR”) and relied on an

erroneous Guidelines-range to sentence him. Now, exercising his rights

under 28 U.S.C. § 2255, Mr. Powell is challenging his sentence for ineffective




                                       1
assistance of counsel.1

                     JURISDICTIONAL STATEMENT

      Pursuant to 28 U.S.C. § 2253, this Court has appellate jurisdiction over

a final order in a proceeding under 28 U.S.C. § 2255. On October 5, 2023, this

Court issued a certificate of appealability. JA381-382 (4th Cir. Doc. 17).

                           STATEMENT OF ISSUES

      This Court granted a certificate of appealability on the following issue:

“whether Powell’s trial counsel rendered ineffective assistance by failing to

present a lease agreement and witness testimony to rebut the Government’s

assertion that Powell maintained a residence on Gateway Drive in

Portsmouth, Virginia, for the distribution of controlled substances.” JA381-

382 (4th Cir. Doc. 17).

                          STATEMENT OF THE CASE

      On October 20, 2016, Nathaniel Powell pled guilty in the Eastern

District of Virginia to one count of Conspiracy to Manufacture, Distribute,




1 This provision states “[a] prisoner in custody under sentence of a court

established by Act of Congress claiming the right to be released upon the
ground that the sentence was imposed in violation of the Constitution or
laws of the United States… may move the court which imposed the sentence
to vacate, set aside or correct the sentence.” 28 U.S.C. § 2255(a).

                                       2
and Possess with Intent to Distribute more than 100 grams of Heroin, in

violation of Title 21, United States Code, Sections 846, 841(a)(1) and 841

(b)(1)(B). JA30.

      Following his guilty plea, the Probation Office completed a

Presentence Report. The PSR calculated an Offense Level of 37 and a

Criminal History Category of VI. JA119. This corresponded to a Guidelines-

range of 360 months to life, but was restricted by the statutory maximum to

480 months. JA119.2 The statutory provisions allowed for a sentencing range

between 60 to 480 months. JA119.




2 As Mr. Powell was sentenced in 2017, the 2016 United States Guidelines

Manual was in effect. All references and citations to U.S.S.G. are to the 2016
version of the manual. United States Sentencing Commission, Guidelines
Manual (Nov. 2016); see also United States v. Carthorne, 878 F.3d 458, 462 n.2
(4th Cir. 2017) (considering the Guidelines manual in effect at the time of
sentencing).

                                      3
     Mr. Woodward prepared Mr. Powell’s position on sentencing and

represented him at the March 31, 2017 Sentencing Hearing. JA68. In his

papers and at argument, Mr. Powell entered multiple objections to the PSR,

only one of which is pertinent here—Mr. Powell’s objection to the 2-point

enhancement for maintaining a drug premises pursuant to U.S.S.G. §

2D1.1(b)(12). JA47; JA118-119. This provision states: “If the defendant

maintained a premises for the purpose of manufacturing or distributing a

controlled substance, increase by 2 levels.” U.S.S.G. § 2D1.1(b)(12).

     The Government’s sole evidence in support of the enhancement was

the testimony of Task Force Agent Robert Dyer. JA75. Agent Dyer testified

that Ms. Wilson, another member of the conspiracy and a drug addict, told

him that “her [drug] purchases came from an address on Gateway Drive in

Portsmouth, in an apartment complex.” JA83, JA90, JA104. Agent Dryer

stated that Ms. Wilson told him that she had purchased heroin from Mr.

Powell since 2011 and had been to the apartment on approximately 12

occasions between 2011 and 2016. JA103. Mr. Woodward and Agent Dryer

engaged in the following exchange on cross-examination:

     Q. And you did verify that he [Mr. Powell] lived or had an
     apartment on Gateway Drive in the Churchland section of



                                      4
     Portsmouth, but you’ve certainly not ever been in there and seen
     any drug-processing equipment.
     A. No, sir.
     Q. Okay. So all of that is based on this one statement of Ms.
     Wilson – -
     A. Yes, sir.

JA104-105.

     At sentencing, Mr. Woodward called no witnesses and entered no

evidence. JA108. His sole argument against the drug premise enhancement

was “It’s Ms. Wilson, and it’s all based on her statement.” JA119. The Court

overruled the objection and adopted the PSR’s Guidelines-range of 360 to

480 months. JA119. The Court sentenced Mr. Powell to a period of

incarceration of 300 months. JA165.

     On April 2, 2018, Mr. Powell filed a Motion to Vacate, Set Aside, or

Correct Sentence under 28 U.S.C. § 2255, raising multiple claims of

ineffective assistance of counsel. JA170-193. The District Court summarily

dismissed several of Mr. Powell’s claims but ordered an evidentiary hearing

on two: (1) whether Mr. Woodward failed to file a Notice of Appeal as

instructed by Mr. Powell; and (2) whether Mr. Woodward failed to

“investigate potentially exculpatory evidence pertaining to a two-point

Guidelines enhancement,” including a lease which showed that Mr. Powell



                                      5
did not lease the Gateway Drive apartment used for the “premise”

enhancement. JA253. This appeal only concerns the later claim.

      The habeas evidentiary hearing took place on June 8, 2021. JA289. One

of Mr. Powell’s witnesses, his ex-girlfriend Dwanesa Brown, failed to

appear. JA294, JA296-297. However, the Government and Mr. Powell

reached a Joint Stipulation that, had Ms. Brown testified, she would have

testified as follows:

      1. That she was, until recently, the girlfriend of Mr. Powell.
      2. In 2016, she leased the apartment on Gateway Drive which is
      reflected in the lease filed on the docket as Document 186-1 (the
      “Lease”).
      3. The Lease was not a renewal of a prior term.
      4. She spoke to Mr. Woodward about the Lease.
      5. She faxed it to Mr. Woodward’s office prior to sentencing.

JA360. The Lease began on January 15, 2016, only a few months before Mr.

Powell’s arrest on May 27, 2016. JA352; see also JA246-247.

      Mr. Powell testified on his own behalf. Under oath, he testified that he

instructed Mr. Woodward to obtain a copy of the Gateway Drive Lease and

told him that Ms. Brown would provide a copy. JA335-337. Mr. Powell

testified that he again asked Mr. Woodward if he had a copy of the Lease at

the sentencing hearing. JA343. Mr. Powell called no other witnesses.




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     At the hearing, the Government’s sole witness was Mr. Woodward.

Mr. Woodward testified that, to his memory, he never received the Lease

from Ms. Brown, and it was not in his file. JA311-312. But, he readily

admitted he “would never say under oath that a piece of paperwork couldn’t

get lost” in his office. JA312. As for investigating the premise enhancement,

Mr. Woodward stated that his investigation consisted of “consulting with

[Mr. Powell], filing the objection, and preparing to examine the agent.”

JA317. He “didn’t do anything to investigate the lease” nor did he determine

whether Mr. Powell owned or rented the apartment in question. JA317. He

also admitted that “I don’t know as I sit here today what Mr. Powell’s access

was to that premises or any other premises, frankly.” JA318. He further

stated that, “[i]n the scope of a case like this, you know, two points was not

going to be the make or break.” JA316.

     The District Court found for the Government on both ineffective

assistance claims. As to the premise enhancement, the District Court found

that Mr. Woodward did not deficiently perform by failing to look for the

Lease because he “took other steps in his representation,” including

advancing arguments and cross-examining Agent Dryer. JA374. The Court

further found that Mr. Powell failed to establish prejudice because he did

                                      7
not show “that the Court would have sustained his objection and granted

him a more lenient sentence if the lease were produced.” JA375. It concluded

that “[e]ven if this objection had been sustained, Mr. Powell’s sentence likely

would have been the same.” JA375.

      This appeal follows.

                    SUMMARY OF THE ARGUMENT

      I.    Mr. Woodward’s performance regarding the 2-point sentencing

enhancement for maintaining a premises used for drug dealing was not

objectively reasonable. Mr. Woodward failed to identify the lease governing

the premise in question (the Gateway Drive apartment) and to conduct any

investigation into Mr. Powell’s degree of control over the apartment. He also

failed to adequately cross-examine the Government’s witness at sentencing

to demonstrate that Mr. Powell did not use the apartment for the purpose of

distributing narcotics. None of these failures constitute strategic choices.

      II.   Mr. Woodward’s defective performance prejudiced Mr. Powell.

There is a reasonable probability that, if Mr. Woodward had effectively

assisted Mr. Powell, the District Court would have sustained Mr. Powell’s

objection to the 2-point sentencing enhancement. And, as Mr. Powell was

sentenced under an incorrect Guidelines-range, there is a reasonable


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probability that his sentence would be different but-for Mr. Woodward’s

defective performance. See United States v. Freeman, 24 F.4th 320, 331–32 (4th

Cir. 2022) (en banc).

                         STANDARD OF REVIEW

      This Court reviews a district court’s denial of relief on a § 2255 motion

de novo. United States v. Palacios, 982 F.3d 920, 923 (4th Cir. 2020).

                                 ARGUMENT

      The Sixth Amendment guarantees that, “[i]n all criminal prosecutions,

the accused shall enjoy the right…to have the Assistance of Counsel for his

defence.” U.S. Const. amend. VI. The Supreme Court has recognized that

“the right to counsel is the right to the effective assistance of counsel.”

Strickland, 466 U.S. at 686 (quoting McMann v. Richardson, 397 U.S. 759, 771

n.14 (1970)). This right extends to criminal defendants “at all critical stages

of a criminal proceeding, including at sentencing.” Freeman, 24 F.4th at 326.

      To prove ineffective assistance of counsel, (1) “the defendant must

show that counsel’s performance was deficient” and (2) “that the deficient

performance prejudiced the defense.” Strickland, 466 U.S. at 687; see also

Freeman, 24 F.4th at 335. This standard applies in full force in habeas

proceedings. Strickland, 466 U.S. at 697–98 (“Since fundamental fairness is


                                        9
the central concern of the writ of habeas corpus…no special standards ought

to apply to ineffectiveness claims made in habeas proceedings”).

I.     Counsel’s performance was not objectively reasonable.

     As the Supreme Court explained, “the proper standard for attorney

performance is that of reasonably effective assistance” and is measured

“under prevailing professional norms.” Strickland, 466 U.S. at 687–88.

Counsel has a “duty to investigate and to research a client’s case in a manner

sufficient to support informed legal judgments.” Carthorne, 878 F.3d at 466.

Mr. Woodward failed to reasonably investigate the basis of the drug

premises enhancement, including by failing to investigate the existence or

length of a lease and to conduct a factual investigation into the scope of Mr.

Powell’s control over and use of the apartment.

     The premise enhancement applies “[i]f the defendant maintained a

premises for the purpose of manufacturing or distributing a controlled

substance.” U.S.S.G. § 2D1.1(b)(12). The analysis requires the Government to

prove two things: (1) the defendant “maintained” the premise; and (2) the

premise was used for drug activities.




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      A.    Mr. Woodward failed to effectively represent Mr. Powell as to
            the maintenance prong of the analysis.

   When considering whether a defendant “maintained” the premises, the

Guidelines instruct courts to consider “(A) whether the defendant held a

possessory interest in (e.g., owned or rented) the premises and (B) the extent

to which the defendant controlled access to, or activities at, the premises.”

U.S.S.G. § 2D1.1 cmt. 17. By not investigating the existence of a lease or Mr.

Powell’s control over the apartment, Mr. Woodward failed to effectively

represent Mr. Powell as to the maintenance prong.

      First, a reasonably diligent attorney would have investigated the status

of the Gateway apartment lease. This is true regardless of whose

testimony—Mr. Powell’s, Ms. Brown’s, or Mr. Woodward’s — that the Court

credits. Mr. Powell stated that he asked Mr. Woodward to obtain the Lease

“to prove that the owner started renting in 2016.” JA249. And Ms. Brown

would have testified that she spoke to Mr. Woodward about the Lease and

faxed it to his office. JA360. Mr. Woodward, on the other hand, stated that

he never received the Lease nor knew of its existence, either because (1) Ms.

Brown improperly or never sent it; or (2) it got lost in Mr. Woodward’s office.




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JA317; see also JA312 (testimony of Mr. Woodward: “I would never say under

oath that a piece of paperwork couldn’t get lost [in my office]”).

      Whether he received the Lease from Ms. Brown or not, Mr. Woodward

still should have known about or investigated its existence. When reviewing

the PSR with Mr. Powell, Mr. Woodward admitted that “[Mr. Powell]

indicated to me that that wasn’t true, or he didn’t use that apartment, or Ms.

Wilson was lying. And I don’t, you know, remember the exact details of

that.” JA316. Regardless of his exact language, Mr. Powell informed Mr.

Woodward that he did not control the apartment.




      Yet, Mr. Woodward conducted no additional investigation. He

admitted that the extent of his “investigation was consulting with my client,

filing the objection, and preparing to examine the agent.” JA317. He “didn’t

do anything to investigate the lease.” JA317. And he admitted, “I don’t know

as I sit here today what Mr. Powell’s access was to that premises or any other

premises, frankly.” JA318.

      Even a “cursory” investigation into the Gateway Drive apartment

would have revealed the fact that Ms. Brown, not Mr. Powell, rented it, a key

                                      12
part of the maintenance analysis. See Freeman, 24 F.4th at 330. Further, it

would have revealed that Ms. Brown’s lease began only a few months prior

to Mr. Powell’s arrest, not five years before as Ms. Wilson stated.

      Second, reasonably diligent counsel would have conducted a further

factual investigation into Mr. Powell’s degree of control over the apartment.

It is true that a defendant can still be found to maintain a premises even if he

did not own or lease the premises. United States v. Clark, 665 F. App’x 298,

302–03 (4th Cir. 2016) (unpublished). But, to do so, the Government must

demonstrate that the defendant “exercised control” over the premises. Id.

This is a fact-intensive inquiry. Courts consider, among other factors,

whether the defendant possessed a key, paid bills, came and went at will,

and slept at the premises. Id.; see also United States v. Christian, 544 F. App’x

188, 191 (4th Cir. 2013) (unpublished).

      For example, in Christian, the Fourth Circuit upheld the application of

the drug premise enhancement where, like Mr. Powell, the defendant did

not own or lease the apartment. 544 F. App’x at 190–91. But, at the Christian

sentencing, the Government provided a wealth of additional evidence as to

the defendant’s level of “control.” The Government demonstrated that the

defendant had a key to the apartment; he stayed there regularly; and he

                                       13
“controlled” a chest and safe on the premise containing money, drugs, and

firearms. Id. at 191. No evidence of this type was entered at Mr. Powell’s

hearing.

      Even if Mr. Woodward did not get the Lease from Ms. Brown, a

reasonably diligent counsel, once his client had raised a factual objection,

would have proactively looked for a lease to the premise and investigated

the factual basis of the premise enhancement. See also Strickland, 466 U.S. at

691 (when evaluating the reasonableness of counsel’s investigation, “inquiry

into counsel’s conversations with the defendant may be critical to a proper

assessment of counsel’s investigation decisions”).

      B.    Mr. Woodward failed to effectively represent Mr. Powell as to
            the use prong of the analysis.

      In determining if a premises was used for drug activity, the Court

“must”     find   that   “[m]anufacturing   or   distributing   a   controlled

substance…[was] one of the defendant’s primary or principal uses for the

premises, rather than one of the defendant’s incidental or collateral uses.”

U.S.S.G. § 2D1.1 cmt. 17. “In making this determination, the court should

consider how frequently the premises was used by the defendant for

manufacturing or distributing a controlled substance and how frequently



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the premises was used by the defendant for lawful purposes.” Id. Mr.

Woodward failed to adequately investigate and argue this prong.

     First, a reasonably diligent attorney would have investigated the use

of the apartment.




          A reasonably diligent attorney would have investigated and

argued that point at sentencing.

     Second, the Lease would have contradicted Ms. Wilson’s testimony

about the “use” of the premises. At sentencing, the Government argued that

Ms. Wilson’s statements were reliable because “she says she’s going to the

same place 12 different, you know, times over the course of the conspiracy,

so this goes back years. She specifies the street name, the neighborhood, and

a residence that never changed.” JA118-119. The Lease directly undermines



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Ms. Wilson’s statement, calling this statement and others into question. The

Lease actually began in January 2016, only five months (not five years)

before Mr. Powell’s arrest. JA246-247; JA44 (Statement of Facts ¶ 4). Ms.

Brown would have testified that it was not a renewal. JA360. Therefore, Mr.

Powell’s “control” over and “use” of the premise could not have gone “back

years” as Ms. Wilson stated. If the Lease had been entered into evidence, it

would have directly contradicted Ms. Wilson’s uncorroborated hearsay

testimony.

      C.     Mr. Woodward’s errors were not strategic choices.

      It cannot be said that Mr. Woodward’s failure to investigate or argue

these points was a “strategic choice.” Strickland, 466 U.S. at 681 (deferring to

counsel’s reasonable strategic decisions). Mr. Woodward did raise the

objection at sentencing. He just failed to do the homework to support his

objection.

      It could be that, after interviewing Ms. Brown, Mr. Woodward would

have made a strategic decision not to have her testify at sentencing regarding

the premise enhancement. But Mr. Woodward does not “recall” if he ever

even spoke to Ms. Brown, strongly indicating that he never interviewed her

as a potential witness much less made a “strategic” decision not to have her


                                      16
testify. JA320-321. It could also be that, for whatever reason, he might have

made a strategic decision not to introduce the Lease. But he could not have

made any strategic decision if he never investigated or knew of its existence.

JA318. Mr. Woodward’s failures cannot be attributed to any strategic

planning.

      Instead, Mr. Woodward stated that he did not think the existence of a

lease was important to the premise analysis. Despite the clear language in

the Guidelines, Clark, and Christian (all of which were available to Mr.

Woodward at the time of sentencing), he wrongly asserted “it’s not really

legally pertinent who owns or rents” the premise. JA317. 3 But, as

demonstrated above, it is one of the most legally pertinent questions to

determine if the defendant maintained the premise. “[A]ny reasonably

competent attorney would not have made the same mistake.” Freeman, 24

F.4th at 330.




3 It is not clear to what extent Mr. Woodward did any legal research on this

question. He cited no case law in his written pleadings or at the sentencing
hearing.

                                     17
      Finally, Mr. Woodward admitted that he did not investigate the

enhancement because he believed “[i]n the scope of a case like this, you

know, two points was not going to be the make or break.” JA316.

      In actuality, the two-points would have moved the top Guidelines-

range sentence (accounting for the statutory maximum) from 480 months to

365 months—a difference of over nine and a half years—and the bottom

sentence from 360 months to 292 months—a difference of over five and half

years. U.S.S.G. Ch. 5, Part A. A reasonably competent attorney would never

disregard the importance of any offense level enhancement, much less when

operating at the top of the Sentencing Table where the difference of a few

points can be a matter of years. See also Rosales-Mireles v. United States, 138 S.

Ct. 1897, 1907 (2018) (“To a prisoner, this prospect of additional time behind

bars is not some theoretical or mathematical concept” and “any amount of

actual jail time is significant”) (cleaned up). Mr. Woodward failed to provide

effective assistance to Mr. Powell at sentencing.

II.   Counsel’s deficient performance prejudiced Mr. Powell.

      Mr. Woodward’s deficient performance prejudiced Mr. Powell. “To

show prejudice, ‘a defendant must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result in the


                                       18
proceeding would have been different.’” Freeman, 24 F.4th at 331 (quoting

Strickland, 466 U.S. at 694) (cleaned up). To meet the “reasonable probability

standard,” a defendant only needs to demonstrate “a probability sufficient

to undermine confidence in the outcome [of the proceeding].” Id. (quoting

Strickland, 466 U.S. at 694); see also Strickland, 466 U.S. at 693 (“[A] defendant

need not show that counsel’s deficient conduct more likely than not altered

the outcome in the case”). “[I]n most cases, when a district court adopts an

incorrect Guidelines range, there is a reasonable probability that the

defendant’s sentence would be different absent the error.” Freeman, 24 F.4th

at 331–32 (quoting Molina-Martinez v. United States, 578 U.S. 189, 192 (2016)).

      A.    There is a reasonable probability that, but-for counsel’s
            ineffective assistance, the Court would have sustained the
            objection.

      When a conclusion is “only weakly supported by the record,” like it is

here, that conclusion “is more likely to have been affected by errors than one

with overwhelming record support.” Strickland, 466 U.S. at 696. There is a

reasonable probability that, if not for counsel’s deficient investigation and

performance at sentencing, the Court would have upheld Mr. Powell’s

objection and re-calculated the Guidelines-range.




                                       19
      The evidence presented at sentencing regarding the enhancement was

slim and the introduction of the Lease or any additional piece of evidence by

the defense could have tipped the balance in Mr. Powell’s favor. At

sentencing, the Government solely relied on Ms. Wilson’s statement, as

reported by Agent Dryer. In other words, the Government relied completely

on the hearsay statements of a known drug addict and co-conspirator about

one incident. To say the least, this is a thin reed to stand on.

      Here, the submission of the Lease had a reasonable probability of

changing the Court’s ruling on the maintenance prong of the premise

analysis. First, the Lease would have contradicted Ms. Wilson’s otherwise

unchallenged testimony regarding the length of Mr. Powell’s connection to

the residence. Second, the Lease would have proved that Mr. Powell neither

owned nor leased the premises, “the typical examples of a possessory

interest,” and would have required the Government to present additional

evidence regarding control to meet its evidentiary burden. Clark, 665 F.

App’x at 302–03.

      And, but-for Mr. Woodward’s deficient performance, there is a

reasonable probability that the Court would have ruled in Mr. Powell’s favor

as to the “use” prong. One of the key considerations for this analysis is “how

                                       20
frequently the premises was used” for drug activity. U.S.S.G. § 2D1.1 cmt.

17.



                     But Mr. Woodward failed to press this point at argument

and in his papers.

      In addition, it is simply unknown—since Mr. Woodward, by his own

admission, never investigated it—what other information, evidence, and

testimony regarding control and use would have come to light. If the Court

found for Mr. Powell on either prong (maintenance or use), it would have

sustained Mr. Powell’s objection to the premise enhancement.

      If the objection had been sustained, Mr. Powell would have an offense

level of 35 and a Criminal History Category of VI. This would result in a

Guidelines-range of 292 to 365 months (rather than the range of 360 months

to 480 months as the District Court wrongly calculated). U.S.S.G., Ch. 5, Part

A (Sentencing Table). Mr. Powell is currently serving a sentence of 300

months.




                                      21
      B.    There is a reasonable probability that, but-for counsel’s
            ineffective assistance, Mr. Powell would have received a lower
            sentence.

      As there is a “reasonable probability” that the objection would have

been sustained and the Guidelines-range re-calculated, “there is a

reasonable probability that the defendant’s sentence would be different

absent the error.” Freeman, 24 F.4th at 331–32 (quoting Molina-Martinez, 578

U.S. at 192). In 2022, the Fourth Circuit sitting en banc reaffirmed:

      [w]hen a defendant is sentenced under an incorrect Guidelines
      range—whether or not the defendant’s ultimate sentence falls
      within the correct range—the error itself can, and most often
      will, be sufficient to show a reasonable probability of a different
      outcome absent the error.

Id. at 332 (quoting Molina-Martinez, 578 U.S. at 192). “In other words, an error

resulting in a higher range than the Guidelines provide usually establishes a

reasonable probability that a defendant will serve a prison sentence that is

more than ‘necessary’ to fulfill the purposes of incarceration.” Rosales-

Mireles, 138 S. Ct. at 1907.

      In this case, the District Court sentenced Mr. Powell below the

incorrectly calculated Guidelines-range (using an offense level of 37) but

within the correctly calculated Guidelines-range (using an offense level of

35). This is the exact situation that the Supreme Court considered in Molina-


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Martinez and affirmed that the erroneous calculation was presumptively

prejudicial.

      Here, there is no indication in the record to overcome the presumption

that the incorrectly calculated Guidelines-range prejudiced Mr. Powell. As

the Fourth Circuit has made clear, this is a difficult standard to overcome.

For example, it has held that the sentencing judge’s express statement that

he or she would have imposed the same sentence regardless of the

Guidelines, is not enough to overcome this presumption. Freeman, 24 F.4th

at 332.

      In its order denying Mr. Powell’s motion, the District Court pointed to

nothing nearly as compelling. As its sole discussion on prejudice, the District

Court stated that “[e]ven if this objection had been sustained, Mr. Powell’s

sentence likely would have been the same.” JA375. But, it failed to cite

anything in the record for that proposition other than the fact that his current

sentence is within the properly calculated Guidelines-range —the exact type

of evidence rejected by both Freeman and Molina-Martinez. Instead, the

District Court discussed the Guideline-range at sentencing and stated that it

relied on it “in assessing a sentence.” JA158; see also JA142-143 (noting that,




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if not for the statutory cap, Mr. Powell would be “looking at a life sentence”

under the Guidelines).

      Because counsel’s ineffective assistance caused the District Court to

rely on an erroneous Guidelines-range at sentencing, Mr. Powell suffered

constitutionally cognizable prejudice.

                              CONCLUSION

      Mr. Powell has met both elements of the ineffective assistance of

counsel test, as articulated in Strickland. First, his counsel failed to provide

reasonably effective assistance when he neither investigated nor entered the

Lease into evidence to rebut the Government’s assertion that Mr. Powell

exercised control over the Gateway apartment for a period of five years.

Second, this deficient performance resulted in the sentencing court relying on

an improperly calculated Guidelines-range, prejudicing Mr. Powell. For

these reasons, Mr. Powell respectfully requests that this Court overturn the

District Court’s ruling and find that Mr. Powell’s sentencing counsel

provided him ineffective assistance in failing to present a Lease and

testimony to object to the premise enhancement at sentencing.

            STATEMENT REGARDING ORAL ARGUMENT

      Appellant Nathaniel Powell respectfully requests oral argument.


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Dated: January 10, 2024   Respectfully submitted,

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                    CERTIFICATE OF COMPLIANCE

     1.    This brief complies with the type-volume limitations of Fed. R.

App. P. 32(a)(7)(B) because it contains 4,598 words, excluding the parts of

the brief exempted by Fed. R. App. P. 32(f).

     2.    This   brief   complies   with      the   typeface   and   type-style

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                                          /s/ Morgan V. Maloney
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                       CERTIFICATE OF SERVICE

     I hereby certify that on January 10, 2024, the foregoing was filed with

the Clerk of the United States Court of Appeals for the Fourth Circuit using

the appellate CM/ECF system, which will also serve counsel of record.


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